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UNITED STATES DISTR ~ m QQU¢QT 1112
MIDDLE DISTRICT oF HomDA g g

 

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JENNIFER Moss, _
Plaintiff, cAsE No.; (o;,%_ w _q<;d_gm~‘i \~ (`:B`K
_VS_
HALSTED FINANCIAL sEvacEs,
LLC,
Defendant.

/
COMPLAINT AND DEMAND FOR JURY TRIAL

COMES NOW Plaintiff, JENNIFER MOSS, by and through the undersigned
counsel, and sues Defendant, HALSTED FINANCLA.L SERVICES, LLC, and in support
thereof respectfully alleges violations of the Telephone Consumer Protection Act, 47
U.S.C. §227 et seq. (“TCPA”), the Florida Consumer Collection Practices Act, Fla. Stat.
§559.55 et seq. (“FCCPA”) and the Fair Debt Collection Practices Act, 15 U.S.C. § 1692
et. seq. (“FDCPA”).

INTRODUCTION

l. The TCPA was enacted to prevent companies like Defendant, HALSTED
FINANCIAL SERVICES, LLC (hereinafter “Halsted”), from invading American
citizen’s privacy and prevent abusive “robo-calls.”

2. “The TCPA is designed to protect individual consumers from receiving
intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, --US--, 132

S.Ct. 740, 745, 181 L.Ed. 2d 881 (2012).

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3. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the
*1256 scourge of modern civilization, they wake us up in the moming; they interrupt our
dinner at night; they force the sick and elderly out of bed; they hound us until we want to
rip the telephone out of the wall.’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings
presumably intended to give telephone subscribers another option: telling the autodialers
to simply stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (llth Cir.
2014).

4. According to the Federal Communications Commission (FCC),
“Unwanted calls and texts are the number one complaint to the FCC. There are thousands
of complaints to the FCC every month on both telemarketing and robocalls. The FCC
received more than 215,000 TCPA complaints in 2014."
https://www.fcc.gov/document/fact-sheet-consumer-protection-proposal.

JURISDICTION AND VENUE

5. This is an action for damages exceeding Seventy-Five Thousand Dollars
($75,000.00) exclusive of attorney fees and costs.

6. Jurisdiction and venue for purposes of this action are appropriate and
conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves
violations of the TCPA.

7. Subject matter jurisdiction, federal question jurisdiction, for purposes of
this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the
district courts shall have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States; and this action involves violations of

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47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)
and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014)

8. The alleged violations described herein occurred in Volusia County,
Florida. Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2),
as it is the judicial district in which a substantial part of the events or omissions giving
rise to this action occurred.

FACTUAL ALLEGATIONS

9. Plaintiff is a natural person, and citizen of the State of Florida, residing in
Deltona, Volusia County, Florida.

10. Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8) and 15
U.S.C. § l692(a)(3).

11. Plaintiff is an “alleged debtor.”

12. Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755
F. 3d 1265 (11lh Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th
Cir. 2014).

13. Defendant, Halsted, is a foreign limited liability company with its
principal place of business located at 8001 N. Lincoln Ave., Suite 500, Skokie, lL 60077
and which conducts business in the State of ~Florida through its registered agent,
Corporation Service Company, located at 1201 Hays St., Tallahassee, FL 32301.

14. Defendant is a “debt collector” as defined by Florida Statute § 559.55(7)

and 15 U.S.C. § 1692(a)(6).

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15. The debt that is the subject matter of this complaint is a “consumer debt”
as defined by Florida Statute §559.55(6) and U.S.C. § 1692(a)(5).

16. Defendant called Plaintiff on Plaintiff’s cellular telephone approximately
five hundred (500) times in an attempt to collect a debt.

17. Defendant attempted to collect an alleged debt from the Plaintiff by this
campaign of telephone calls.

18. Defendant intentionally harassed and abused Plaintiff on numerous
occasions by calling several times during one day, and on back to back days, with such
frequency as can reasonably be expected to harass.

19. Upon information and belief, some or all of the calls the Defendant made
to Plaintiff’s cellular telephone number were made using an “automatic telephone dialing
system” which has the capacity to store or produce telephone numbers to be called, using
a random or sequential number generator (including but not limited to a predictive dialer)
or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §
227(a)(1) (hereinafter “autodialer calls”). Plaintiff will testify that she knew it was an
autodialer because of the vast number of calls she received and because she heard a pause
when she answered her phone before a voice came on the line and/or she received
prerecorded messages from Defendant.

20. Plaintiff is the subscriber, regular user and carrier of the cellular telephone
number (321) ***-7714, and was »the called party and recipient of Defendant’s calls.

21. Defendant placed an exorbitant number of automated calls to Plaintiff’ s

cellular telephone (321) ***-7714 in an attempt to collect on an alleged credit card debt.

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22. On several occasions since the account was placed with Halsted, Plaintiff
instructed Defendant’s agent(s) to stop calling her cellular telephone

23. In or about April of 2017, Plaintiff received a ca11 from the Defendant, ,
met with an extended pause, eventually was connected to a live agent/representative of
Defendant, explained to the agent/representative that she was doing the best she could,
she would make a payment once she was able, and demanded that Defendant cease
placing automated calls to her aforementioned cellular telephone number.

24. During the aforementioned phone conversation in or about April of 2017
with Defendant’s agent/representative, Plaintiff unequivocally revoked any express
consent Defendant may have otherwise believed it had for placement of telephone calls to
Plaintiff’s aforementioned cellular telephone number by the use of an automatic
telephone dialing system or a pre-recorded or artificial voice.

25. Each subsequent call the Defendant made to the Plaintiff’ s aforementioned
cellular telephone number was done so without the “express consent” of the Plaintiff.

26. Each subsequent call the Defendants made to the Plaintiff’s
aforementioned cellular telephone number was knowing and willful.

27. Despite actual knowledge of its wrongdoing, the Defendant continued the
campaign of abuse, calling the Plaintiff despite the Plaintiff revoking any express consent
the Defendant may have had to ca11 her aforementioned cellular telephone number.

28. On at least ten (lO) separate occasions, Plaintiff has either answered a ca11

from the Defendant or returned a ca11 to the Defendant regarding her alleged account,

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held the line to be connected to a live representative, and demanded that the Defendant
cease placing calls to her aforementioned cellular telephone number.

29. Each of the Plaintiff’s requests for the harassment to end was ignored.

30. From April of 2017 through the filing of this Complaint, the Defendant
has placed approximately seven hundred fifty (750) actionable calls to Plaintiff" s
aforementioned cellular telephone number, or as will be shown upon a thorough
investigation of Defendant’s records.

31. Defendant has a corporate policy to use an automatic telephone dialing
system or a pre-recorded or artificial voice to individuals just as it did to the Plaintist
cellular telephone in this case.

32. Defendant has a corporate policy to use an automatic telephone dialing
system or a pre-recorded or artificial voice, just as it did to the Plaintiff’ s cellular
telephone in this case, with no way for the consumer, or Defendant, to remove the
number.

33. Defendant’s corporate policy is structured as to continue to call
individuals like the Plaintiff, despite these individuals explaining to Defendant they wish
for the calls to stop.

34. Defendant has numerous other federal lawsuits pending against them
alleging similar violations as stated in this Complaint.

35. Defendant has numerous complaints against them across the country
asserting that their automatic telephone dialing system continues to call despite being

requested to stop.

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36. Defendant has had numerous complaints from consumers against them
across the country asking to not be called; however, the Defendant continues to call the
consumers.

37. Defendant’s corporate policy provided no means for the Plaintiff to have
her number removed from the call list.

38. Defendant has a corporate policy to harass and abuse individuals despite
actual knowledge that the called parties do not wish to be called.

39. None of Defendant’s telephone calls placed to Plaintiff were for
“emergency purposes” as specified in 47 U.S.C. §227(b)(1)(A).

40. Defendant willfully and/or knowingly violated the TCPA with respect to
the Plaintiff.

41. From each and every call placed without express consent by Defendant to
Plaintiff’ s cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion
upon her right of seclusion.

42. From each and every call without express consent placed by Defendant to
Plaintist cell phone, Plaintiff suffered the injury of the occupation of her cellular
telephone line and cellular phone by unwelcome calls, making the phone unavailable for
legitimate callers or outgoing calls while the phone was ringing from ’s call.

43. From each and every call placed without express consent by Defendant to
Plaintiff’s cell phone, Plaintiff suffered the injury of unnecessary expenditure of her time.
For calls she answered, the time she spent on the call was unnecessary as she had

repeatedly asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste

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time to unlock the phone and deal with missed call notifications and call logs that
reflected the unwanted calls. This also impaired the usefulness of these features of
Plaintiff’s cellular phone, which are designed to inform the user of important missed
communications

`44. Each and every call placed without express consent by Defendant to
Plaintiff’s cell phone was an injury in the form of a nuisance and annoyance to Plaintiff.
For calls that were answered, Plaintiff had to go to the unnecessary trouble of answering
them. Even for unanswered calls, Plaintiff had to waste time to unlock the phone and deal
with missed call notifications and call logs that reflected the unwanted calls. This also
impaired the usefulness of these features of Plaintist cellular phone, which are designed
to inform the user of important missed communications

45 . Each and every call placed without express consent by Defendant to
Plaintist cell phone resulted in the injury of unnecessary expenditure of Plaintiff’s cell
phone’s battery power.

46. Each and every ca11 placed without express consent by Defendant to
Plaintiff’s cell phone where a voice message was left which occupied space in Plaintiff’s
phone or network.

47. Each and every ca11 placed without express consent by Defendant to
Plaintiff’s cell phone resulted in the injury of a trespass to Plaintiff’s chattel, namely her

cellular phone and her cellular phone services.

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48. As a result of the calls described above, Plaintiff suffered an invasion of
privacy. Plaintiff was also affect in a personal and individualized way by stress, anxiety,

nervousness, and aggravation

COUNT I
(Violation of the TCPA)

49. Plaintiff fully incorporates and realleges paragraphs one (1) through forty-
eight (48) as if fully set forth herein.

50. Defendant willfully violated the TCPA with respect to the Plaintiff,
especially for each of the auto-dialer calls made to Plaintiff’s cellular telephone after
Plaintiff notified Defendant that she wished for the calls to stop.

51. Defendant repeatedly placed non-emergency telephone calls to Plaintiff” s
cellular telephone using an automatic telephone dialing system or prerecorded or artificial
voice without Plaintiff’ s prior express consent in violation of federal law, including 47
U.S.C § 227(b)(1)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so
triable and judgment against Defendant for statutory damages, punitive damages, actual
damages, treble damages, enjoinder from further violations of these parts and any other
such relief the court may deem just and proper.

QM
(violation of the FCCPA)

52. Plaintiff fully incorporates and realleges paragraphs one (1) through forty-

eight (48) as if fully set forth herein.

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53. At all times relevant to this action Defendant is subject to and must abide
by the laws of the State of Florida, including Florida Statute § 559.72.

54. Defendant has violated Florida Statute §559.72(7) by willfully
communicating with the debtor or any member of her or his family with such frequency
as can reasonably be expected to harass the debtor or her or his family.

55. Defendant has violated Florida Statute §559.72(7) by willfully engaging in
other conduct which can reasonably be expected to abuse or harass the debtor or any
member of her or his family.

56. Defendant’s actions have directly and proximately resulted in Plaintiff’s
prior and continuous sustaining of damages as described by Florida Statute §559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues
so triable and judgment against Defendant for statutory damages, punitive damages,
actual damages, costs, interest, attorney fees, enjoinder from further violations of these
parts and any other such relief the court may deem just and proper.

COUNT III
(Violation of the FDCPA)

57. Plaintiff fully incorporates and realleges paragraphs one (1) through forty-
eight (48) as if fully set forth herein.

58. At all times relevant to this action Defendant is subject to and must abide
by 15 U.S.C. § 1692 et seq.

59. Defendant has violated 15 U.S.C. § 1692(d) by willfully engaging in
conduct the natural consequence of which is to harass, oppress, or abuse any person in

connection with the collection of a debt.

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60. Defendant has violated 15 U.S.C. § 1692(d)(5) by causing a telephone to
ring or engaging any person in telephone conversation repeatedly or continuously with
intent to annoy, abuse, or harass any person at the called number.

61. Defendant has violated 15 U.S.C. § 1692(f) by using unfair and
unconscionable means to collect or attempt to collect any debt.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so
triable and judgment against Defendant for statutory damages, punitive damages, actual
damages, costs, interest, attorney fees, enjoinder from further violations of these parts and
any other such relief the court may deem just and proper.

Respectfully submitted,
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Shan'ghn C.\{l-Iiil, “€Jq,

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